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                                                                                                    E-FILED
                                                                Wednesday, 28 May, 2014 03:55:36 PM
                                                                       Clerk, U.S. District Court, ILCD

                            UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF ILLINOIS
                                   URBANA DIVISION
____________________________________________________________________________
DR. MARK W. STURDY d/b/a                     )
ROCHESTER VETERINARY CLINIC                  )
on behalf of itself and a class,             )
                                             )
                       Plaintiff,            )
      v.                                     )     Case No. 13-CV-3350
                                             )
MEDTRAK EDUCATIONAL SERVICES                 )
LLC, et al.                                  )
                                             )
                       Defendants.           )

                                            OPINION

       On October 8, 2013, Plaintiff, Dr. Mark W. Sturdy, filed his Complaint (#1) against

Defendants, Medtrak Educational Services LLC (Medtrak); Zoetis LLC; Zoetis Inc., f/k/a Pfizer

Animal Health; Zoetis Products (collectively, the Zoeits Defendants); and John Does 1-10. On

that same date, Plaintiff filed a Motion to Certify Class (#3). This court has carefully and

thoroughly reviewed the arguments and documents provided regarding Plaintiff’s motion. After

this review, this court concludes that Plaintiff’s Motion to Certify Class (#3) should be DENIED.

                                         BACKGROUND

       On April 7, 2011, Plaintiff received an unsolicited fax message from Medtrak that

advertised products sold by the Zoetis Defendants. Plaintiff alleges that the fax was part of an

advertising campaign, and therefore, it is reasonable to infer that the fax was sent to more than

20-40 people.

       After receiving the unsolicited fax advertisement, Plaintiff filed a Complaint (#1) on

behalf of himself and a putative class. The complaint contained five counts: Count I, a claim

under the Telephone Consumer Protection Act, 42 U.S.C. § 227; Count II, a claim under the
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Illinois Consumer Fraud and Deceptive Business Practices Act, 815 ILCS 505/2; and Counts III-

V, Illinois common law claims for conversion, private nuisance, and trespass to chattels.

                                        INSTANT MOTION

       Plaintiff filed his Motion to Certify Class (#3) and Memorandum in Support (#4) on

October 8, 2013. Attached to the filings was a copy of a fax Plaintiff allegedly received from

Defendants, marked as “Exhibit A”. In his motion and memorandum in support, Plaintiff

attempts to join three different classes:

       1.      (a) all persons (b) who, on or after a date four years prior to the filing of this

               action, (c) were sent faxes in the form represented by Exhibit A.

       2.      (a) all persons with Illinois fax numbers (b) who, on or after a date three years

               prior to the filing of this action, (c) were sent faxes in the form represented by

               Exhibit A.

       3.      (a) all persons with Illinois fax numbers (b) who, on or after a date five years prior

               to the filing of this action, (c) were sent faxes in the form represented by Exhibit

               A.

       Plaintiff states, in his Memorandum in Support (#4), that he does not know the size of

any of the above classes. However, Plaintiff claims that it would make “no economic sense” for

Defendants “to prepare and send such a fax unless it is sent to more than 40 people.”

                                            ANALYSIS

       The Supreme Court recently reaffirmed that a class action suit is “an exception to the

usual rule that litigation is conducted by and on behalf of the individual named parties only.”

Wal-Mart Stores, Inc. v. Dukes, 131 S.Ct. 2541, 2550 (2011) (citation omitted). In order to

justify a departure from that rule, the party seeking class certification must first meet the four

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requirements of Federal Rule of Civil Procedure 23(a)(1)-(4): numerosity; commonality;

typicality; and adequate representation. See also Dukes, 131 S.Ct. At 2550. If those

requirements are met, Rule 23(b)(3) states that class certification is appropriate if “the court finds

that the questions of law or fact common to class members predominate over any questions

affecting only individual members, and that a class action is superior to other available methods

for fairly and efficiently adjudicating the controversy.”

       In order to meet the first requirement of Rule 23(a), numerosity, the court must be

convinced that the class is “so numerous that joinder of all members is impracticable.” Rule

23(a)(1). While there is no definite number of members that makes joinder impracticable, the

Seventh Circuit has found that as few as 40 class members may be sufficient to satisfy the

numerosity requirement. See Swanson v. American Consumer Industries, 415 F.2d 1326, 1333

(7th Cir. 1969) (40 class members is a sufficiently large group to satisfy Rule 23(a) where the

individual members of the class are widely scattered and their holdings are too small to warrant

undertaking individual action).

       Plaintiff admits that he does not know the exact number of class members in this case, but

estimates the number to be greater than 40. Courts have found that “a class action may proceed

upon estimates as to the size of the proposed class.” See In re Alcoholic Beverages Litigation, 95

F.R.D. 321, 324 (E.D.N.Y. 1982). However, although “plaintiffs are not required to specify the

exact number of persons in the class,” they “cannot rely on conclusory allegations that joinder is

impractical or on speculation as to the size of the class in order to prove numerosity.” Marcial v.

Coronet Ins. Co., 880 F.2d 954 (7th Cir. 1989). In his brief, Plaintiff states that this court should

infer that the offending fax was sent to more than 40 people because “it would make no

economic sense to prepare and send such a fax unless it is sent to more than 40 people.” Plaintiff

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offers no reason why he chose a class of at least 40 members or why it would not make economic

sense to send the fax to fewer recipients. This court believes that Plaintiff’s calculation of

classes greater than 40 members based upon the above reasoning is speculative and not “properly

supported.” See Driver v. AppleIllinois, LLC, 265 F.R.D. 293, 300 (N.D.Ill. 2010).

       Another problem Plaintiff has with meeting the numerosity requirement is that he has not

established any way to ascertain the class members. In his brief, Plaintiff claims that he will

obtain the exact number of class members through discovery. However, Plaintiff has not

established, and the record does not contain any reference to how the class members will be

ascertained or even if it is possible. While class members need not be ascertained prior to

certification, they must be ascertainable at some point in the case; and plaintiff must establish an

objective way to determine who is a class member. Vandervort v. Balboa Capital Corp., 287

F.R.D. 554, 557 (C.D. Cal 2012).

       Importantly, the record and briefs are devoid of any suggestion that Defendants used a

specific list or database when sending out the fax. Further, Plaintiff has not made any argument

or provided any documentation to support a finding that Defendants are in possession of

evidence which could establish who the fax was sent to. The absence of available information

regarding a database or list renders this case readily distinguishable from cases that certified a

class despite a plaintiff’s inability to identify fax recipients. For example, in G.M. Sign, Inc. v.

Group C Communications, Inc., 2010 WL 744262 (N.D.Ill. 2010), the record before the court

included the identity of a third party supplier who provided lists which were then used by the

defendant to send the offending faxes.

       Without any information sufficient to identify the recipients of the fax, this case is more

closely analogous to Saf-T-Gard Intern., Inc. v. Wagener Equities, Inc., 251 F.R.D. 312 (N.D.Ill.

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2008). In that case, there appeared to be no list of numbers from which the parties or the court

could reasonably assume that class members could be ascertained. Further, it was unclear

whether the defendants had any records that may have revealed the intended recipients of the

offending fax. Here, too, there appears to be no list of numbers from which the parties or the

court could ascertain who the fax was sent to and the record does not establish whether any such

list even exists. Therefore, this court cannot find that there is an objective, reasonable way of

identifying potential class members. Because of this, class certification is inappropriate. See

Saf-T-Gard Intern. Inc., 251 F.R.D. at 315; Levitt v. Fax.com., 2007 WL 3169078 (D.Md. 2007).

       Having concluded that Plaintiff’s estimate of group membership is speculative and not

properly supported, and that neither Plaintiff nor the record establish that there is an objective,

reasonable way to ascertain potential class members, this court concludes that Plaintiff has not

met the numerosity requirement of Rule 23(a)(1). Accordingly, Plaintiff’s Motion to Certify

Class (#3) is DENIED.

       IT IS THEREFORE ORDERED THAT:

       Plaintiff’s Motion to Certify Class (#3) is Denied.

                       ENTERED this 28th day of May, 2014



                                               s/ COLIN S. BRUCE
                                              U.S. DISTRICT JUDGE




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